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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0681V
                                          UNPUBLISHED


    DAVID CHRISTIAN KUNZ,                                       Chief Special Master Corcoran

                         Petitioner,                            Filed: August 27, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


David Charles Richards, Christensen & Jensen, P.C., Salt Lake City, UT, for Petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
Respondent.


                                 DECISION AWARDING DAMAGES1

      On May 14, 2018, David Christian Kunz filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury related to vaccine
administration (“SIRVA”). Petition at ¶¶ 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On October 7, 2019, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for SIRVA. On August 27, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $116,105.73. Proffer at
1-2. In the Proffer, Respondent represented that Petitioner agrees with the proffered


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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award. Id. Based on the record as a whole, I find that Petitioner is entitled to an award as
stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $116,105.73 (comprised of damages for pain and suffering in the
amount of $110,000.00, damages for lost wages in the amount of $3,245.72, and
damages for unreimbursed out-of-pocket medical expenses in the amount of
$2,860.01) in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS


DAVID CHRISTIAN KUNZ,

                  Petitioner,                           No. 18-681V
                                                        Chief Special Master Corcoran
 v.                                                     ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                  Respondent.


               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On October 4, 2019, respondent conceded that entitlement to compensation was

appropriate under the terms of the Vaccine Act. ECF No. 31. Thereafter, on October 7, 2019,

Chief Special Master Corcoran issued a Ruling on Entitlement, finding that petitioner was

entitled to vaccine compensation for his shoulder injury related to vaccine administration

(“SIRVA”). ECF No. 33.

I.        Compensation for Vaccine Injury-Related Items

          Based on the evidence of record, respondent proffers that petitioner should be awarded

$116,105.73, which is comprised of damages for pain and suffering in the amount of

$110,000.00, damages for lost wages in the amount of $3,245.72, and damages for unreimbursed

out-of-pocket medical expenses in the amount of $2,860.01. This amount represents all elements

of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.
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II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $116,105.73, in the form of a check payable to petitioner. Petitioner

agrees.

      Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                       Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       HEATHER L. PEARLMAN
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       DARRYL R. WISHARD
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       s/ Mallori B. Openchowski
                                                       MALLORI B. OPENCHOWSKI
                                                       Trial Attorney
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DATED: August 27, 2021




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